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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
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Attorneys for the Debtors

In re:                                                 Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                Debtors.                               Chapter: 11


         ORDER PARTIALLY RECLASSIFYING ADMINISTRATIVE CLAIM OF
                ALCOA, INC. TO GENERAL UNSECURED CLAIM
         The relief set forth on the following page, numbered two (2), is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Partially Reclassifying Administrative Claim of Alcoa, Inc. to General Unsecured Claim



         Upon consideration of the above-captioned debtors’ (the “Debtors”) objection seeking an

order to partially reclassify administrative claim of Alcoa, Inc. (“Alcoa”) to general unsecured

claim (the “Objection”),1 any responses or objections thereto, notice of the Motion appearing

appropriate, and for cause shown, it is hereby ORDERED:

         1.      That the Objection is SUSTAINED.

         2.      That Alcoa’s proof of claim identified as claim no. 785 on the claims register is

reclassified as a general unsecured claim in the amount of $97,015.14. The balance of claim no.

785 in the amount of $97,918.71 is allowed as an administrative claim pursuant to Section

503(b)(9) of the Bankruptcy Code.




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1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Objection.

                                                   2
